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                                        ORDERED.


         Dated: October 16, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:
                                                              Case No: 8:19-bk-06613-MGW
Raymond Joseph Yosuico and                                    Chapter 7
Isabella Adele Yosuico,

                 DEBTOR.                       /

                 ORDER APPROVING CHAPTER 7 TRUSTEE’S
   APPLICATION TO RETAIN BK GLOBAL REAL ESTATE SERVICES AND KELLER
   WILLIAMS REALTY EASTERN PANHANDLE TO PROCURE CONSENTED PUBLIC
       SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330 OF THE PROPERTY

          THIS CAUSE came on for consideration upon the Application of Stephen L. Meininger,

the trustee in the above-captioned case (“Trustee”), to Retain BK Global Real Estate Services and

Keller Williams Realty Eastern Panhandle to Procure Consented Public Sale pursuant to 11

U.S.C. § § 327, 328 and 330 (“Application”) [Docket No. 19], the Court having reviewed and

considered the Notice, Application and the Affidavit of Disinterestedness and having found good

and sufficient cause appearing therefor and the same to be in the best interest of Debtor and the

creditors. Accordingly, it is

          ORDERED:

          1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).
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        2.     Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C.

§§ 1408 and 1409.

        3.     The Application is APPROVED.

        4.     The Trustee is authorized to retain and compensate BKRES and Listing Agent to

procure Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s

Chapter 7 case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy

Rules 2014 and 2016, in accordance with the terms and conditions set forth in the BKRES

Agreement, the Listing Agreement and this Order. BKRES and Listing Agent shall not split or

otherwise share their fees with any other person or entity. Defined terms not otherwise defined

herein have the meanings given to them in the Application and the Affidavit.

        5.     BKRES and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

        6.     BKRES and Listing Agent shall be compensated in accordance with the BKRES

Agreement and Listing Agreement, respectively, and such compensation shall not hereafter be

subject to challenge except under the standard of review set forth in Section 330 of the Bankruptcy

Code.

        7.     BKRES and Listing Agent shall be authorized to receive and retain their fees from

Secured Creditor at the successful closing of the sale of the Property without necessity of further

order of the Court. The estate shall, in no circumstance, be obligated to compensate BKRES or

Listing Agent in such event and BKRES and Listing Agent shall not have a claim against the estate

for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through or under

either of them, shall only have recourse for recovering its fee to Secured Creditor. The estate shall

have no liability for any such claim.
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       8.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.


       Stephen Meininger, Trustee is directed to serve a copy of this order on interested parties
who do not receive service by CM/ECF and file a proof of service within three days of entry of
the order.
